         Case 1:16-cr-00371-RA Document 541-5 Filed 07/06/18 PageCOURT
                                                                  1 of 2 EXHIBIT

                                                                       S,
    UNITED STATES DISTRICT COURT
    SOUTHERN DISTRICT OF NEW YORK
    -----------------------------------x
    UNITED STATES OF AMERICA,

           - v.-                                S3 16 Cr. 371 (RA)

    JOHN GALANIS,
         a/k/a
    "Yanni," DEVON
    ARCHER, and BEVAN
    COONEY,


                   Defendants.
    -----------------------------------x

         Please indicate your verdicts with a check mark       ( ✓):



                                  COUNT ONE
                   (Conspiracy to Commit Securities Fraud)


John Galanis:                 Not Guilty                      Guilty

                                                                            /
Devon Archer:                 Not Guilty                      Guilty    v
Bevan Cooney:                 Not Guilty                      Guilty
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                                          COUNT TWO
                                      (Securities Fraud)

                                                                                                     /
                                                                                                 /

John Galanis:                         Not Guilty                              Guilty      ..//


Devon Archer:                         Not Guilty                              Guilty      L~

Bevan Cooney:                         Not Guilty                              Guilty     /


    When your deliberations are complete, please sign and date the verdict form.




                                                                          New York, New York
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